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				REINSTATEMENT OF CERTIFICATE OF CERTIFIED SHORTHAND REPORTERS2015 OK 21Decided: 04/13/2015THE SUPREME COURT OF THE STATE OF OKLAHOMA
Cite as: 2015 OK 21, __ P.3d __

				
FOR PUBLICATION IN OBJ ONLY. NOT RELEASED FOR PUBLICATION. 



RE: Reinstatement of Certificate of Certified Shorthand Reporters




O R D E R


The Oklahoma Board of Examiners of Certified Shorthand Reporters has recommended to the Supreme Court of the State of Oklahoma that the certificate of each of the Oklahoma Certified Shorthand Court Reporters named below be reinstated as these reporters have complied with the continuing education requirements for calendar year 2014 and/or with the annual certificate renewal requirements for 2015, and have paid all applicable penalty fees.

IT IS HEREBY ORDERED that, pursuant to 20 O.S., Chapter 20, App. 1, Rules 20 and 23, the certificate of the following court reporter is reinstated from the suspension earlier imposed by this Court:


	
		
			
			Name &amp; CSR #
			
			
			Effective Date of Reinstatement
			
		
		
			
			Kristin C. Randall, CSR #1784
			
			
			April 2, 2015
			
		
	


&nbsp;

DONE BY ORDER OF THE SUPREME COURT IN CONFERENCE this 13th day of April, 2015.


/S/CHIEF JUSTICE



ALL JUSTICES CONCUR.







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